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                             UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF CALIFORNIA


UNITED STATES OF AMERICA,                         CASE NO. 12-cr-02985-AJB

                              Plaintiff,
                   vs.                            JUDGMENT OF DISMISSAL
DAVID VALENZUELA,

                              Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

_x___ an indictment has been filed in another case against the defendant and
       the Court has granted the motion of the Government for dismissal of
       this case, without prejudice; or

       the Court has dismissed the case for unnecessary delay; or

       the Court has granted the motion of the Government for dismissal,
       without prejudice; or

       the Court has granted the motion of the defendant for a judgment of
       acquittal; or

       a jury has been waived, and the Court has found the defendant not
       guilty; or

       the jury has returned its verdict, finding the defendant not guilty;

__
 X__ of the offense(s) as charged in the Indictment/Information:

       21 USC 952 and 960: 18 USC 2 - Importation of Marijuana; Aiding and

       Abetting (Felony) (1)

             IT IS THEREFORE ADJUDGED that the defendant                 hereby




          FILED                                   Wi liam McCurine, Jr.

          SEP 20 2~~:~   _J
     CLERK us DISTI"iCi COURT
                                                  U.S. Magistrate Judge


  SOUTHERN DISTRiCT OF CALIFORNIA
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